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(AHS ELENA
UNITED STATES DISTRICT COUR S_

FOR THE CENTRAL DISTRICT OF CALIFORNIA

June 1995 Grand Jury

CR SA 95 LAS Lb

INDICIMENT

 

UNITED STATES OF AMERICA,
Plaintiff,

{18 U.S.C. § 1344(1): Bank
Fraud; 18 U.S.C. § 2(b):
Causing an Act to be Done;
18 U.S.C. § 982: Criminal
Forfeiture]

HUU TRAN

Defendant.

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The Grand Jury charges:
[18 U.S.C. § 1344(1), 18 U.S.C. § 2(b)]

I. The Scheme To Defraud

1. Beginning on or about October 1993, and continuing to on or
about March 1994, in Orange County, within the Central District of
California, defendant HUU TRAN knowingly and willfully executed a
scheme to defraud and obtain moneys and funds under the custody and
control of several financial institutions ("the victim banks"), the
deposits of which were federally insured, by means of false and
fraudulent pretenses, representations and promises, and the
concealment of material facts.

2. The scheme to defraud was carried out, in part, as follows:

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a. Defendant HUU TRAN obtained credit card accounts from
numerous financial institutions, some of which are identified herein
as victim banks.

b. Defendant HUU TRAN submitted payments, in the form of
checks, to the victim banks, knowing that the checks were drawn on
closed accounts or accounts with insufficient funds. In most
instances, the checks issued to the victim banks were in amounts which
far exceeded the defendant's credit limit. However, since the victim
banks were unaware that the checks were not valid, the victim banks
duly posted the payments which in turn permitted the defendant to make
purchases and cash advances up to the amount of the defendant's
purported payment.

c. Defendant HUU TRAN then used his credit card accounts
to obtain cash advances and/or conduct purchases of merchandise
through the use of his credit cards. The cash advances and purchases
would often far exceeded the defendant's credit limit. In reliance on
the validity of the fraudulent checks submitted by the defendant as
payment on the credit card account, the cash advances and purchases
were authorized by the victim banks. Accordingly, the victim banks
honored all cash advances and purchases which did not exceed the
amount of the fraudulent check(s), even though the cash advances and
purchases far exceeded his credit limit.

d. Thereafter, the checks submitted by defendant HUU TRAN
to the victim banks were returned to the victim banks unpaid, because
the checks were drawn against insufficient funds or the accounts on

which the checks were drawn had been closed.
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II. Execution of the Scheme to Defraud

3.

District of California, defendant HUU TRAN,

On or about the dates set forth below,

within the Central

in execution of the scheme

to defraud and to obtain moneys and funds under the custody and

control of the victim banks by false and fraudulent pretenses,

representation, and promises, knowingly submitted the following

fraudulent payments and caused the following losses to the victim

banks:

FCC NAT'L BANK/ FIRST CARD
VISA 4678 061 819 131

CREDITOR

12/20/93
12/25/93
12/25/93
12/25/93
12/25/93
12/25/93
12/25/93
12/25/93
12/26/93
12/26/93
12/28/93
12/28/93
12/28/93
12/28/93
12/28/93
12/28/93
12/31/93
12/31/93

FRAUDULENT
PAYMENT

$6,341.98

$6,341.98
$6,341.98

FRAUDULENT
PURCHASES

$994.99
$994.99
$994.99
$994.99
$424.99
$994.99
$985.75

$988.99
$994.99
$524.99
$988.99
$989.99
$992.30
$424.99
$419.75
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COUNT II
FRAUDULENT FRAUDULENT
CREDITOR DATE PAYMENT PURCHASES
BANK OF AMERICA 12/21/93 $2,272.18
MC 5432 2572 0233 6999 12/24/93 $987.75
12/25/93 $212.99
12/25/93 $994.99
12/28/93 $4,544.36
12/29/93 $520.99
12/29/93 $992.30
12/31/93 $733.99
1/18/94 $6,971.96
COUNT III
BANK OF NEW YORK 12/27/93 $2,542.08
VISA 4253 3025 3337 1627 12/28/93 $994.99
12/28/93 $994.99
12/29/93 $474.99
12/31/93 $2,542.08
12/31/93 $2,542.08
COUNT IV
NATIONSBANK 12/21/93 $7,500.00
MC 5342 1300 0148 5243 12/25/93 $301.00
12/25/93 $991.99
12/25/93 $994.99
12/25/93 $994.99
12/25/93 $994.99
12/25/93 $994.99
12/25/93 $994.99
12/25/93 $994.99
12/25/93 $994.99
12/28/93 $7,500.00
12/28/93 $7,500.00
12/29/93 $522.99
12/29/93 $994.99
12/29/93 $994.99
12/29/93 $994.99
12/29/93 $994.99
12/29/93 $994.99
12/29/93 $987.75
12/31/93 $301.00
12/31/93 $424.99
12/31/93 $419.75
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FORFEITURE
[18 U.S.C. § 982]

5. The allegations of Count One of this indictment are
realleged and fully incorporated herein for the purpose of alleging
forfeitures to the United States of America pursuant to the provisions
of Title 18, United States Code, Section 982.

6. As a result of the offense alleged in Count One, defendant
HUU TRAN shall forfeit to the United States of America all property,
real and personal, involved in the aforesaid offenses and all property
traceable to such property, including but not limited to the following
property:

a. Approximately $35,508.01 in United States currency and
all interest and proceeds traceable thereto, in that such sum in
aggregate is property that was involved in the aforestated offense or
is traceable to such property, in violation of Title 18, United States
Code, Section 1344.

b. If any of the property described above as being subject
to forfeiture, as a result of any act or omission of defendant HUU
TRAN:

i. cannot be located by the exercise of due diligence;

ii. has been transferred, or sold to, or deposited with, a third

person;

iii. has been placed beyond the jurisdiction of this court;

iv. has been substantially diminished in value; or

Ve has been commingled with other property that cannot be

subdivided without difficulty;
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it is the intent of the United States of America, pursuant to Title

18, United States Code, Section 982(b)(1) to seek forfeiture of any

other property of said defendant up to the value of the above

forfeitable property, that is, $35,508.01 in United States currency.

i M. MANELLA
ty Attorney

Nees ntton

Assistant United S eves Attorney
Chief, Criminal Division

JAMES P. WALSH, JR.
Assistant United States Attorney
Chief, Organized Crime Strike Force

A TRUE BILL

 

 

Foreperson
